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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA,                          §
                                                   §
v.                                                 §      No. 3:06-CR-085-L
                                                   §
ABDUL RAHMAN KARRIEM (2),                          §


                           MEMORANDUM OPINION AND ORDER

        Before the court is an Appeal From Order Revok[ing] Bond, filed May 1, 2006. Defendant

Abdul Karriem (“Karriem”) requests the court to review the United States Magistrate Judge’s Order

Revoking Conditions of Release, filed April 21, 2006.

I.      Factual and Procedural Background

        On March 9, 2006, Karriem was arrested for wire fraud and aiding and abetting, in violation

of 18 U.S.C. §§ 1343 and 2. He appeared before the magistrate judge on the same day and was

released. As a condition of his release, Karriem was ordered not to commit any offense in violation

of federal, state or local law. His travel was restricted to the State of Texas, and he was to notify any

new employer of the pending charges against him. On March 20, 2006, Karriem filed a motion to

extend the boundaries of his pretrial release to include the continental United States. A hearing was

scheduled before the magistrate judge on April 4, 2006. At the hearing, Karriem provided a letter

from his employer stating that the employer, Najullah Isom of Ronin Ventures, LLC (“Ronin”), was

aware of the allegations against him, and that his position with the company required him to travel.

On April 12, 2006, the magistrate judge amended the conditions of release to allow Karriem to travel

outside of Texas within the continental United States.




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       At the time the magistrate judge issued his order, he was unaware of an FBI investigation

of Ronin. The investigation revealed that the company’s address, as registered with the Texas

Secretary of State, is also Karriem’s address. The company’s mailing address is a post office box

opened and maintained by Karriem. The physical address for the company is office space leased

by Karriem. On April 12, 2006, as a result of the investigation, the magistrate judge issued an order

rescinding his order amending the conditions of pretrial release. He reinstated the original

restrictions on travel, and scheduled a hearing for April 20, 2006, to hear evidence regarding

Karriem’s employment.

       After hearing testimony and reviewing evidence regarding Ronin and Karriem’s new

employment, the magistrate judge determined that: (1) information that Karriem set up Ronin was

purposely not provided to the court at the prior hearing; (2) Najullah Isom, who testified on

Karriem’s behalf, was not credible; (3) probable cause exists to believe that Ronin was purposely

set up to deceive the court to allow Karriem to travel outside the court’s jurisdiction to avoid the

pending charges against him; (4) probable cause exists to believe that Karriem, through his attorney,

submitted false evidence to the court in order to deceive the court to amend his conditions of release

and to obstruct justice; (5) probable cause exists to believe that Karriem would be a flight risk if

released from custody; and (6) there are no conditions, or combination of conditions, that the court

could set to reasonably secure Karriem’s appearance at future court appearances. The magistrate

judge found that Karriem committed a criminal offense while on pretrial release, the submission of

false testimony in violation of 18 U.S.C. § 1621. He ordered Karriem’s conditions of release be

revoked, and that he be committed to custody for confinement in a correctional facility.




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       In this appeal, Karriem contends that: (1) the letter from his employer is true; (2) his home

address was not used to incorporate Ronin; (3) the company was not set up to deceive the court; (4)

as the registered agent for the company, he was not being deceptive when he opened a bank account,

leased a post office box and leased office space for the company; (5) he resigned from his position

as manager of Ronin after he was indicted; (6) he has not violated the conditions of his pretrial

release; and (7) he is not a flight risk if released from custody.

       The Government responds that the revocation of the prior release order should be affirmed

because: (1) there is probable cause that Karriem committed a felony while on release; and (2) there

is no condition of release that will assure that Karriem will not flee. The Government maintains that

Karriem misled the court by indicating he had obtained new employment that required him to travel

out of state, when in fact the company was one he created. The Government contends that, in effect,

Karriem is self-employed. The Government further contends that Karriem submitted a letter that

contained a false statement to the court regarding his employment. Specifically, the letter from Ms.

Isom stated that the company was aware of the allegations against Karriem. Ms. Isom testified at

the hearing, however, that she did not know that Karriem is charged with fraud. The Government

further asserts that, as the evidence supports the magistrate judge’s finding that Ronin was set up

to deceive the court to allow Karriem to travel outside the court’s jurisdiction, the magistrate judge

was justified in concluding that Karriem is a flight risk and should be detained.

II.    Analysis

       A district court reviews a pretrial detention order de novo, and makes an independent

determination of the pretrial detention or the proper conditions for release. See United States v.

Fortna, 769 F.2d 243, 249 (5th Cir.1985). The applicable statute provides that “the motion shall be


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determined promptly.” See 18 U.S.C. § 3145(a). This review does not mandate a new evidentiary

hearing, and the court may rely on the evidence introduced before the magistrate judge. See United

States v. Baker, 703 F.Supp. 34, 36 (N.D. Tex. 1989). Pursuant to 18 U.S.C. § 3148(b), “[t]he

judicial officer shall enter an order of revocation [of an order of release] and detention if, after a

hearing, the judicial officer

               (1)     finds that there is –

                       (A)      probable cause to believe that the person has
                                committed a Federal, State, or local crime while on
                                release: or

                       (B)      clear and convincing evidence that the person has
                                violated any other condition of release; and

               (2)     finds that –

                       (A)      based on the factors set forth in section 3142(g) of
                                this title, there is no condition or combination of
                                conditions of release that will assure that the person
                                will not flee or pose a danger to the safety of any
                                other person or community; or

                       (B)      the person is unlikely to abide by any condition or
                                combination of conditions of release.

               If there is probable cause to believe that, while on release, the person
               committed a Federal, State, or local felony, a rebuttable presumption
               arises that no condition or combination of conditions will assure that
               the person will not pose a danger to the safety of any other person or
               the community. If the judicial officer finds that there are conditions
               of release that will assure that the person will not flee or pose a
               danger to the safety of any other person or the community, and that
               the person will abide by such conditions, the judicial officer shall
               treat the person in accordance with the provisions of section 3142 of
               this title and may amend the conditions of release accordingly.

Id. Probable cause under this section “requires only that the facts available to the judicial officer

‘warrant a man of reasonable caution in the belief’ that the defendant has committed a crime while


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on bail.” United States v. Gotti, 794 F.2d 773, 777 ( quoting Texas v. Brown, 460 U.S. 730, 742

(1983)).

       The court reviewed the tape recording of the detention hearing. The testimony from the

witnesses and exhibits shows that Karriem helped established Ronin in August 2005. When Karriem

requested that the conditions of his pretrial release be amended to allow him to travel for his new

job with Ronin, he never revealed his relationship to the company. He never informed the probation

officer or the court that he was listed as the registered agent and a manager for the corporation.

Karriem was also an original signatory on Ronin’s bank account and at one time was responsible

for payroll for the company. On March 22, 2006, Karriem told the probation officer that he had a

new job working for Ronin, when in fact he was listed as a manager for Ronin in August 2005. His

home address was listed as the company’s address, and the company’s letterhead reflected a post

office box he leased.

       Ms. Isom testified that she wrote the letter stating that Karriem was an employee of Ronin,

and that travel outside of Texas was necessary for his employment. She further testified that she

was unaware that Karriem was charged with fraud. He only told her it had to do with his previous

mortgage company.

       The court determines that Karriem deliberately misled the magistrate judge regarding his

relationship with Ronin. Ronin was not an independent company for which he found new

employment, but was a company he helped create, and for which he once held a managerial role.

Further, Karriem failed to inform Ms. Isom that he was charged with fraud. Karriem thus violated

a condition of his release by failing to notify his “new employer” of the charges pending against

him. Further, there is probable cause to believe that Karriem submitted false testimony to the

magistrate judge regarding Ronin and whether he had advised Ronin of the pending charges, and
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thus committed perjury in violation of 18 U.S. C. § 1621. This is a violation of the condition of his

release that he not commit any offense in violation of federal law. The court also determines that

Karriem purposely misled the court so that he could travel outside the State of Texas. All of these

actions by Karriem indicate that he is a flight risk. In this regard, the credibility of Karriem weighs

heavily in the court’s determination whether he will be a flight risk. A court has to be able to rely

on the veracity of a defendant, or other credible testimony, to determine whether one is a flight risk.

Here, Karriem’s testimony is crucial. A statement that is a half-truth or one which omits or conceals

material facts is the same as an outright lie when it is done with the intent to deceive or mislead. If

one cannot be truthful to the court, the court simply cannot attach any weight or credibility to

testimony of such person that he is not a flight risk. The court further determines that there is no

condition or combination of conditions of release that will assure that Karriem will not flee.

Accordingly, the magistrate judge’s order revoking Karriem’s release should be affirmed.

III.   Conclusion

         After careful consideration of Karriem’s motion and exhibits, the Government’s response,

a de novo review of the evidence and tape recording of the detention hearing before the magistrate

judge, and the magistrate judge’s order, the court determines that Karriem has failed to establish that

he is not a flight risk. Accordingly, the court denies Defendant’s motion to revoke the magistrate

judge’s order amending his conditions of release (Appeal From Order Revok[ing] Bond). The Order

Revoking Conditions of Release is affirmed.

       It is so ordered this 18th day of May, 2006.


                                                  _________________________________
                                                  Sam A. Lindsay
                                                  United States District Judge


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